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 4
 5
 6                    IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE DISTRICT OF ARIZONA

 8   C.M., on her own behalf and on behalf of her         No. CV-19-05217-PHX-SRB
     minor child, B.M.; L.G., on her own behalf and
 9   on behalf of her minor child, B.G.; M.R., on her     ORDER
10   own behalf and on behalf of her minor child,
     J.R.; O.A., on her own behalf and on behalf of
11   her minor child, L.A.; and V.C., on her own
12   behalf and on behalf of her minor child, G.A.,

13                       Plaintiffs,

14   v.
     United States of America,
15
                          Defendant.
16
     A.P.F. on his own behalf and on behalf of his        No. CV-20-00065-PHX-SRB
17   minor child, O.B.; J.V.S. on his own behalf and
     on behalf of his minor child, H.Y.; J.D.G. on his
18   own behalf and on behalf of his minor child,
19   M.G.; H.P.M. on his own behalf and on behalf of
     his minor child, A.D.; M.C.L. on his own behalf
20   and on behalf of his minor child, A.J.; and R.Z.G.
21   on his own behalf and on behalf of his minor
     child, B.P.,
22
                         Plaintiffs,
23
     v.
24   United States of America,
25
                         Defendant.
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27
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 1          As ordered by the Court, the United States provided for in camera review 143
 2   documents for which attorney-client and/or work product privilege was claimed.1 The
     documents showed transparent redactions so that the Court could review the
 3
     undisclosed parts of the documents. The United States also provided the privilege
 4   logs. The documents reviewed by the Court under the claim of attorney-client and/or
     work product privilege were highlighted in yellow on the privilege logs. Few of these
 5
     documents were withheld in their entirety but were only partially redacted. Most of
 6   the documents were not unique but were listed several times with identical or near
 7   identical redactions.

 8
          I.     ATTORNEY-CLIENT/WORK PRODUCT PRIVILEGE
 9               SUSTANINED
10
           After its review, the Court finds that the following Bates numbered pages2
11   were properly redacted to protect attorney-client and/or work product privilege:
12
                  #7515-7517, #7518-7520, #7521-7523, #7616-7618,
13                #7619-7622, #7623-7625 (a developing email string from
14                February 27, 2018, with substantially the same redactions)

15                #8496-8497 (an email string dated May 29-30, 2018)
16                #8605-8607 (an email string dated May 31 and June 1,
17                2018)

18                # 8628-8629 (email string with identical redaction as
19                #8496-8497)

20                #8847-8848, #8849-8850, #8883-8884, #8893-8894,
                  #8957-8958 (these are the first of numerous copies of two
21                documents titled Zero Tolerance Immigration
22                Prosecutions-Family Fact Sheet and Zero Tolerance
                  Immigration Prosecutions Frequently Asked Questions
23
24
           1
             An additional 35 documents were submitted for which other privileges are
25   claimed. Those documents will be the subject of a subsequent Order.
           2
26           The last 4 or 5 digits of the Bates numbers are used.

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 1             with minimally redacted legal advice comments in margin
 2             on drafts.)

 3             #9305-9306, #9807-9308 (two versions of same email
               chain dated June 20, 2018, regarding El Centro with
 4             identical redaction of legal advice)
 5
               #9965-9966, #10204-10205 (same email chain as #8496-
 6             8497. The additional redaction on the top of #9965 is not
 7             redacted on #8496 and #10204.)

 8             #10344-10345, #10346-10347, #10390-10391 (same as
               Fact Sheet and Frequently Asked Questions with same
 9             redactions)
10
               #10440-10441 (same as #9307-9308)
11
12             #10581-10583, #10675-10677, #10678-10680, #10681-
               10684 (same email chain from February 27, 2018, with
13             one line of additional redaction on #10581 of David
               Wetmore comment on a Supreme Court case which is
14             neither legal advice nor work product and shall be
15             produced.)

16             #12341-12342, #12343-12344, #12362-12363, #12364-
               12365, #12392-12393 (same Family Fact Sheet and
17
               Frequently Asked Question with same redacted legal
18             advice comments.)
19             #12476 (privileged portion redacted)
20
               # 12560-12561, #12562-12563, #12565-12566, #12568-
21             12569, #12572-12573, #12574-12575 (same email string
               regarding El Centro with same redactions as #9305-9306)
22
23             #12632-13647 (this is a developing email chain properly
               redacted for privilege)
24
25             #13378-13379 (same as #8496-8497)

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 1                 #14016-14017, #14018-14019, #14025-14026, #14027-
 2                 14028, 14034-14035, #14036-14037, #14047-14048,
                   #14049-14050, #14128-14129, #14132-14133, #14135-
 3                 14136 (same Family Fact Sheet and Frequently Asked
                   Questions with same redactions.)
 4
 5                 #14222 (properly redacted for privilege)

 6                 #14335 (properly redacted for privilege)
 7
                   #14584-14585, #14586-14587 (properly redacted for
 8                 privilege)
 9                 #14593-14613 (same email string regarding El Centro
10                 as #9305 with same redactions except that part of the
                   first email in the string from Gloria Chavez was
11                 redacted in at least one of the documents but fully
12                 disclosed in almost all of them.)

13                 #14617-14634 (same email chain as #14584 with same
                   redactions.)
14
15                 #15080-15097 (email chain properly redacted for
                   privilege.)
16
           II.     ATTORNEY-CLIENT/WORK PRODUCT
17
                   PRIVILEGE REDACTIONS OVERRULED.
18
            There are several documents that the Court finds were redacted and are not
19
     privileged.
20
                   #10553-10556 (#10553 is a fully redacted first page of a
21                 publicly filed Order of the United States District Court
                   for the District of Columbia. The remaining three pages
22
                   were not redacted. There is no privilege attached to this
23                 page of the document and in any event the case and
                   docket numbers on the unredacted three pages allows
24                 access to the public docket for this case.)
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 1                 #10558-10561 (redacted in its entirety is a published
 2                 decision of the Board of Immigration Appeals. No
                   privilege attaches to this public record.)
 3
 4                 #10581 (As mentioned above, with respect to the
                   redaction of the first email from David Wetmore, the
 5                 Court finds it neither attorney-client nor work product
 6                 privileged and it shall be produced.)

 7
                   #12582, #12583-12584, #12590-12591, #14530,
 8                 #14531 (identical redactions in 5 emails. Email from
                   Matt Watters to John Bash does not appear to be
 9                 privileged and shall be produced)3
10
           III.   DOCUMENTS FOR WHICH THERE IS
11                INSUFFICIENT INFORMATION.
12
            There are four identical fully redacted copies of a document titled “DHS
13
     Response to DOJ Analysis of Litigation Risk Associated with Draft MOA between
14
     ORR and DHS.” The Privilege Log states that it is withheld as attorney-client and
15
     work product privileged because it is a draft providing DHS’s response to DOJ’s
16
     “analysis of risk associated with a draft MOA between ORR and DHS regarding
17
     consultation and information sharing in UAC matters.” The Court has several
18
     questions about this document and the claim of attorney-client and work product
19   privilege. First, was a final of this document produced? It is marked “Pre-Decisional
20   Draft.” Second, is this a claim of attorney-client privilege or work product privilege?
21   It doesn’t appear that DHS was seeking legal advice from DOJ. Rather DHS appears
22   to be critical of a DOJ risk analysis it had been given. Third, was the DOJ risk
23   analysis produced? It is not part of the documents reviewed by the Court in camera.
24
            3
25           The privilege log states that the email is between senior officials discussing
     El Centro guidance including a discussion of legal issues regarding selective
26   prosecution. These emails relate to Del Rio Texas and not El Centro California.

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 1   Fourth, if the claim is work product, whose work product is it and why should it be
 2   protected?
 3          On May 30, 2018, USA Today published an editorial that upset an individual
 4   by the name of Jonathan Hoffman at DHS Headquarters. The email Hoffman sent to
 5   individuals at DHS and to Gene Hamilton at DOJ is fully redacted and most of the

 6   responses are fully redacted. A few are sometimes redacted and other times not

 7   redacted. For example, Hoffmans’ May 30 email at 11:43 p.m. and Hamilton’s email
     on May 31 at 6:17 a.m. are sometimes redacted and sometimes not. Emails from
 8
     Tracy Short and Nancy Baroukh are sometimes redacted and sometimes not. These
 9
     emails about the USA Today editorial are overly redacted. There is some arguable
10
     legal advice being given but for the most part the email responses are advice about
11
     how best to respond to the editorial and to the public relations issue it created. As an
12
     example, the response by Adam Loiacono appears to be his opinion on the best way to
13
     word a response and while it may include some minimal legal analysis, it is fully
14   redacted. The Court directs the United States to look at the USA Today editorial
15   related email strings again and produce a final version that has no redactions for
16   emails inconsistently previously redacted and to leave redacted only those portions of
17   emails that are clearly legal analysis and not advice about how best to respond to the
18   editorial or to the public relations issues the editorial created.
19
20         IV.     CONCLUSION

21
           The Court finds for the most part that the redactions made by the government
22
     based on the attorney-client/work product privileges were carefully and correctly
23
     done. The few instances where the Court finds the privileges not available are in Part
24
     II above and those documents shall be produced without the redactions overruled by
25
     the Court. Regarding the additional information required for the Court to rule on the
26
27                                                  6
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 1   documents related to the “DHS Response to DOJ Analysis of Litigation Risk
 2   Associated with Draft MOA between ORR and DHS” the government shall provide
 3   the Court and Plaintiffs with its response in not more than 10 days.
 4            IT IS ORDERED granting in part and denying in part that portion of
 5   Plaintiffs’ Motion to Compel Discovery Withheld by the Government Based on

 6   Improper Privilege Assertions regarding attorney-client and work product privilege.

 7
            Dated this 15th day of February, 2022.
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